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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

       v.                                          Case No. 21-cr-738 (BAH)

 MICHAEL OLIVERAS,

            Defendant.

        GOVERNMENT’S SUPPLEMENTARY SENTENCING MEMORANDUM

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully submits this supplementary memorandum in connection with

the above-captioned matter.

       On March 3, 2024, the government filed its sentencing memorandum in this matter,

recommending a sentence of 68 months of incarceration, an upward variance from the advisory

guideline range of 37-46 months. See ECF No. 106. Since that memorandum was filed, sentencing

has been continued several times, and there have been additional factual and legal developments

relevant to sentencing in January 6 cases. Accordingly, the government submits this supplementary

memorandum, providing additional justification for its recommended sentence.

       I.       Dismissal of Count Two Has No Impact On The Advisory Guidelines Range

       In light of the Supreme Court’s decision in United States v. Fischer, — S.Ct. — (2024),

the government has filed a motion to dismiss Count Two of the Superseding Indictment. See ECF

No. 126. But the dismissal of Count Two does not change the advisory sentencing guideline range:

       The revised presentence report identifies two groups, with Adjusted Offense Levels of 20




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and 14:

                 Group/Count                  Adjusted Offense              Level Units
                 Group 1 [Counts 1, 3]              20                       1.0
                 Group 2 [Counts 2, 4 & 5]          14                       0.5

                 Total Number of Units:                                      1.5

ECF No. 104 (PSR) at ¶ 65a. With the dismissal of Count Two, Group 2 now consists of Counts

4 and 5, and continues to have an adjusted offense level of 14. See ECF No. 104 (PSR) at ¶ 52,

n.6; ECF No. 106 at 23. The grouping analysis is therefore:

                 Group/Count                  Adjusted Offense              Level Units
                 Group 1 [Counts 1 & 3]             20                       1.0
                 Group 2 [Counts 4 & 5]             14                       0.5

                 Total Number of Units:                                      1.5

          As the PSR indicates, under U.S.S.G. § 3D1.4(a), (b), one unit is assigned to the group

with the highest offense level and one-half unit is assigned to any group that is 5 to 8 levels less

serious than the highest offense level. Thus, in this case, one unit is assigned to Group 1 and one-

half unit is assigned to Group 2. The total number of units is 1.5. The Sentencing Guidelines dictate

that the offense level is increased pursuant to the number of units assigned by the amount indicated

in the table at U.S.S.G. § 3D1.4. Here, that is +1. Therefore, the combined adjusted offense level,

which is determined by taking the offense level applicable to the Group with the highest offense

level and increasing the offense level by the amount indicated in the table at U.S.S.G. § 3D1.4,

continues to be 21.

          II.    Additional Facts Relevant to the 18 U.S.C. § 3553(a) Sentencing Factors

           After violating his release conditions, see Minute Order (5/3/24), the defendant was

detained pending sentencing. Since that time, Oliveras has been a regular contributor to a public

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streaming channel that airs on Youtube, “1791 storm trooper.” 1 The defendant’s recent statements

on this channel further demonstrate his continued lack of remorse and refusal to accept

responsibility for his actions, increasing the need for a significant sentence to deter Oliveras from

engaging in future political violence. See ECF No. 106 at 32-33.

         For example, Oliveras has made the following statements:

      Date                            Link                                Summary of Michael
                                                                          Oliveras’ Statements
    5/8/2024   https://www.youtube.com/watch?v=fS47vYc_7qw           Oliveras’ segment begins at
               2
                                                                     1:51:00.

                                                                     1:54:20: background on arrest
                                                                     and charges

                                                                     1:57:31 to 1:58:08: “But, listen,
                                                                     at this point, I got news for
                                                                     everybody, and I’ve got news for
                                                                     the DOJ and I’ve got news for
                                                                     everybody involved in all of this
                                                                     bullshit whose acting nefariously
                                                                     towards us and anyone involved,
                                                                     I’ve got news for you: it’s a
                                                                     badge of honor. I didn’t go
                                                                     down there to destroy anything,
                                                                     to hurt anybody, cause a ruckus
                                                                     or anything like that, more than
                                                                     any of my brothers for the most
                                                                     part. And what happened,
                                                                     happened. Most of us got caught
                                                                     up in the fray. And I’d do it
                                                                     again.”

                                                                     1:58:09 to 1:58:39: After the
                                                                     host warned Oliveras not to say
                                                                     anything else because he was on
                                                                     a live stream, which was
                                                                     recorded and could be used in his


1
    See https://www.youtube.com/@stormtrooper-hw4cd/videos.
2
    See also https://www.washingtonpost.com/elections/2024/06/14/trump-jan6-attack-pardons/.
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                                                                    upcoming     sentencing,    and
                                                                    warned Oliveras not to make any
                                                                    more statements about his case,
                                                                    Oliveras responded, “I’m not
                                                                    worried.”


 6/14/2024 https://www.youtube.com/watch?v=y1H55KSsgew Oliveras’ segment begins at
                                                       55:39.

                                                                    1:01:49: Oliveras claims that he
                                                                    is    “looking     forward     to
                                                                    sentencing” because it is
                                                                    scheduled for the same day as the
                                                                    former president’s sentencing,
                                                                    who he repeatedly refers to as
                                                                    “our commander-in-chief.”

                                                                    1:06:15: “It is an honor for me
                                                                    to be a J6 defendant – I
                                                                    wouldn't have it any other
                                                                    way. I know why I was there. I
                                                                    was there for the right reasons,
                                                                    and there’s nobody’s that ever
                                                                    gonna get me to admit and say
                                                                    I’m sorry. I didn’t do anything
                                                                    wrong and I’d do it again."


       III.    Upward Departure or Variance Remains Appropriate

       The government’s original sentencing memorandum set forth its reasons for seeking an

upward variance or departure. ECF No. 106 at 24-28. Developments since that memorandum was

filed, including Oliveras’s recent statements and the Fischer decision have added to the grounds

supporting an upward variance.

       As the government explained in its original sentencing memorandum, defendant was an

avid and willing participant in an unprecedented crime. He joined a mob that threatened the lives

of legislators and their staff, interrupted of the certification of the 2020 Electoral College vote

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count, injured more than one hundred police officers and resulted in more than 2.9 million dollars

in losses. His offense targeted the peaceful transfer of power, an essential government function,

and one of the fundamental and foundational principles of our democracy. Like every member of

the mob, [Defendant] “endanger[ed] our democratic processes and temporarily derail[ed]

Congress’s constitutional work.” United States v. Brock, 94 F.4th 39, 59 (D.C. Cir. 2024). As

Judge McFadden put it to another rioter, “[Y]ou and your fellow rioters were responsible for

substantially interfering with the certification, causing a multiple-hour delay, numerous law

enforcement injuries and the expenditure of extensive resources.” United States v. Hale-Cusanelli,

21-cr-37 (TNM), Sent’g Tr. 9/22/22 at 86-87.

       It is not hyperbole to call what happened on January 6 a crime of historic magnitude. As

judges of this district have repeatedly and clearly stated, January 6 was an unprecedented

disruption of the nation’s most sacred function—conducing the peaceful transfer of power. “The

events that occurred at the Capitol on January 6th will be in the history books that our children

read, our children’s children read and their children’s children read. It's part of the history of this

nation, and it’s a stain on the history of this nation.” United States v. Miller, 21-CR-75-RDM, Sent.

Tr., at 67. But just as the history books will describe the crimes of January 6, so will they tell the

story of how this nation responded. Future generations will rightly ask what this generation did to

prevent another such attack from occurring. The damage done to this country on January 6 must

be reflected in the sentences imposed on those who caused the damage—it must not be treated as

just another crime.

       But nothing in Oliveras’ Guidelines calculation now reflects these facts. Oliveras would

face the same offense level if his crimes had not endangered the democratic process or interfered


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with the peaceful transfer of power. 3 There is no specific offense characteristic in the Guidelines

for attacking democracy or abandoning the rule of law. “And simply saying, yeah, I know I

trespassed, I trespassed, that’s not really capturing the impact of what that day meant when all of

those members of Congress met there to fulfill their constitutional duty.” United States v. Calhoun,

21-CR-116-DLF, Sent. Tr. at 85. So a sentence within the defendant’s Guidelines range here would

not “reflect the seriousness of the offense,” “promote respect for the law,” or “provide just

punishment for the offense.” 18 U.S.C. § 3553(a)(2)(A).

       As the government noted before, the Guidelines expressly state that an upward departure

is warranted where a case presents a circumstance that “may not have been adequately taken into

consideration in determining the applicable guideline range” or that “the Commission has not

identified in the guidelines but that nevertheless is relevant to determining the appropriate

sentence.” U.S.S.G. § 5K2.0(a)(2). The Guidelines also provide that a departure is warranted when

an offense results in “a significant disruption of a governmental function” and the Guidelines do

not reflect the appropriate punishment for the offense. U.S.S.G. § 5K2.7. 4 Indeed, even before

Fischer, judges of this Court gave significant upward departures and/or variances in January 6



3
  The D.C. Circuit’s holding in United States v. Brock, 94 F.4th 39 (D.C. Cir. 2024), finding that
certain sentencing enhancements did not apply to the Congress’s counting and certification of the
electoral college votes, despite acknowledging that interference with this process “no doubt
endanger[ed] our democratic process and temporarily derail[ed] Congress’s constitutional work”
demonstrates that the Sentencing Commission failed to anticipate anything like the January 6 riot
when drafting the Guidelines. And the Supreme Court’s recent decision in United States v. Fischer,
-- S.Ct. -- (2024) demonstrates that even the criminal code lacks the appropriate tools to fully
address the crimes of January 6. See Fischer, slip op. at 29 (Barrett, J., dissenting) (“Who could
blame Congress for [its] failure of imagination?”).
4
  This guideline does not require the government to establish a direct link between the defendant’s
misconduct and the alleged disruption, nor does it “require that the disruption be of any particular
type or consequence.” See United States v. Saani, 650 F.3d 761, 765–66, 771 (D.C. Cir. 2011).
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cases when they found the advisory guideline range inadequate. See, e.g., United States v. Hale-

Cusanelli, 21-CR-37-TNM, 9/22/22 Sent. Tr.; United States v. Christian Secor, 21-CR-157-TNM,

10/19/22 Sent. Tr.; United States v. Hunter and Kevin Seefried, 21-CR-287-TNM. 10/24/22 Sent.

Tr.; United States v. William Watson, 21-CR-513-RBW, 3/9/23 Sent. Tr.; United States v. Riley

Williams, 21-CR-618-ABJ, 3/23/23 Sent. Tr.; United States v. Hatchet Speed, 22-CR-244-TNM,

5/8/23 Sent. Tr.

       And since Fischer was decided, this Court, as well as other judges of this district, have

upwardly departed in January 6 cases precisely because in a post-Fischer world, the advisory

guideline range did not adequately take into account all of the relevant circumstances. See United

States v. Eicher, 22-cr-38 (BAH), Sent. Tr. 9/15/23 at 50 (applying § 5K2.7 because the defendant

“join[ed] a mob, in the center of the melee, and through the sheer numbers and aggressive conduct

towards police, breached the Capitol resulting in stopping the legitimate business of Congress for

hours”); United States v. Black, 21-CR-127-ABJ, Sent. Tr. 5/16/23 at 27 (applying an upward

departure pursuant to § 5K2.7 for a January 6 rioter).

       Recently, in United States v. Sparks, 21-CR-87-TJK, Judge Kelly sentenced a defendant

convicted of violating both 18 U.S.C. § 1512(c)(2) and 18 U.S.C. § 231. Prior to sentencing, in

light of the Supreme Court’s Fischer decision, the government moved to dismiss the § 1512(c)(2)

count, and at sentencing, Sparks faced an advisory guideline range of 15-21 months. Judge Kelly

found it important that despite the dismissal of the § 1512(c)(2) count, the defendant’s conduct

still included “an intent to obstruct or interfere with that proceeding, that important constitutional

proceeding” which the court found to be “pretty dark behavior” which “posed a threat to whether

our constitutional process will proceed or whether a mob would interfere with that process.” Sparks


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Sentencing Tr. (attached as Attachment A), at 87-88. The court found that the “typical person

convicted of [18 U.S.C. § 231] engaged in nothing at all like the attack on the Capitol and the

certification.” Id. at 94-95. Because Sparks’ advisory guideline range was driven by the § 231

conviction, that range did not “account for the defendant’s intent to obstruct, not just law

enforcement officers doing their duty under that statute, but a proceeding, or for the purposes of

[U.S.S.G. §] 5K2.7, a governmental function. And not any proceeding, but one foundational to our

country’s governance.” Id. at 93. The court found Sparks’ intent to “interfere or obstruct with the

electoral college vote certification . . . plays an important role in explaining why” Sparks’ advisory

guideline range did not fully account for his criminal conduct. Id. at 94. Accordingly, the court

found a significant upward departure was warranted under both U.S.S.G. §§ 5K2.7 and § 5K2.21,

and in the alternative a variance of equal amount was warranted under the § 3553(a) factors, and

sentenced Sparks to 53 months of imprisonment.

       Similarly, in United States v. Robertson, 21-CR-34-CRC, Judge Cooper resentenced a

defendant after dismissal of a § 1512(c)(2) conviction post-Fischer. Without that conviction, the

court determined that a new advisory guideline range of 37 to 46 months applied. See Robertson

Sent. Tr., at 59. But the court also found that an upward departure was appropriate pursuant to

U.S.S.G. § 5K2.7, because Robertson’s conduct “resulted in a significant disruption of a

governmental function, namely halting of the certification . . . and that is so regardless of whether

Section 1512(c) applies.” Id. at 61. The court also found an upward departure appropriate under

U.S.S.G. § 5K2.0 because Robertson’s conduct was “more harmful or egregious than the typical

case represented by the otherwise applicable guideline range.” Id. After considering the § 3553(a)

factors, Judge Cooper sentenced Robertson to 72 months of imprisonment.


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       And in United States v. Dunfee, 23-CR-36-RBW, Judge Walton sentenced a defendant on

a § 231 conviction and a misdemeanor, after his § 1512(c)(2) conviction was dismissed in light of

Fischer. Judge Walton found an upward departure was warranted under U.S.S.G. § 5K2.7, because

Dunfee’s actions contributed to and resulted in a significant disruption of the certification of the

electoral college vote. Moreover, noting that “the Sentencing Commission did not contemplate the

circumstances that occurred on January 6,” the court also found that a departure was warranted

under U.S.S.G. § 5K2.0(2) because Dunfee’s criminal conduct related to “the attempt by a large

number of individuals, including the defendant, to stop the peaceful transfer of power.” See United

States v. Dunfee, 23-CR-36-RBW, ECF No. 90, at 2. From an advisory range of 18-24 months, the

court sentenced Dunfee to 30 months of imprisonment.

       Because the seriousness of defendant’s crime is not adequately captured by the applicable

Guideline, an upward departure is appropriate here as well. If the Court declines to depart, an

upward variance is warranted. An upward variance is appropriate when “the defendant’s conduct

was more harmful or egregious than the typical case represented by the relevant Sentencing

Guidelines range.” United States v. Murray, 897 F.3d 298, 308–09 (D.C. Cir. 2018) (cleaned up).

While the Supreme Court’s decision in Fischer has changed defendant’s advisory Guideline range,

“Fischer does not dictate the Court’s application of the 18 U.S.C. 3553(a) factors [because] the

Court may still consider [defendant’s] serious conduct on January 6th, 2021 in its entirety. To

reduce [defendant’s] sentence . . . would require this Court to take a drastically different view of

[defendant’s] conduct.” United States v. Hostetter, 21-CR-392-RCL, ECF 507, at 4-5 (cleaned up).

Indeed, “Fischer does not mean that I cannot consider at sentencing evidence that establishes that

the defendant intended to obstruct Congress’ certification of the electoral vote in determining


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whether . . . the resulting guideline range fully accounts for the criminal conduct.” Sparks

Sentencing Tr. at 95. See also United States v. Kelly, 21-CR-708-RCL, ECF 151, at 5 (“Nothing

about Fischer or any hypothetical outcome of [defendant’s] appeal bears directly on the severity

of his conduct on January 6th . . . . Likewise, the outcome in Fischer would not dictate the Court’s

application of the sentencing factors prescribed in 18 U.S.C. § 3553(a)”); United States v. Jensen,

21-CR-6-TJK, Sent. Tr. at 16 (“given the importance and the significance of the proceeding of

certifying the Electoral College votes, I would vary upward -- even if this [sentencing

enhancement] didn't apply, I would vary upward when considering the nature of the offense.”),

         Also unprecedented is the need for January 6 sentences to promote respect for the law and

deter future crime. See 18 U.S.C. § 3553(a)(2)(A), (B). The January 6 rioters went far beyond

merely breaking the law. “There is a difference between breaking the law and rejecting the rule of

law.” See Opening Remarks, January 6 Select Committee (Rep. Kinzinger). 5

         And the risk of another attack on the Capitol remains. “The heated and inflammatory

rhetoric that brought the defendant to the District has not subsided. The lie that the election was

stolen and illegitimate is still being perpetrated.” United States v. Cleveland, 21-CR-159-ABJ,

Sent. Tr. at 94-95. And as discussed above, Oliveras continues to show both a lack of remorse and

an eagerness for future political violence. If we are to prevent another January 6 and restore respect

for the rule of law, sentences in these cases must send a message, and that message will not be

conveyed by treating the January 6 riot as a run-of-the-mill offense.

         Other courts in this district have varied upward from the advisory guideline range

specifically because of the unique and serious nature of the crimes committed that day; this Court



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    Available at https://www.cnn.com/2021/07/27/politics/read-kinzinger-remarks-0727/index.html
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should do no less. See United States v. Reffitt, 21-CR-87-DLF, Mem. Op. and Order 4/10/24 at 10-

11 (upward variance would be justified because “as other judges in this district have noted, the

proceedings at issue on January 6, 2021 were of much greater significance than run-of-the-mill

‘judicial, quasi-judicial, and adjunct investigative proceedings’”); United States v. Fonticoba, 21-

CR-368-TJK, Sent’g Tr. 1/11/24 at 66–67 (stating that, even if the defendant’s § 1512 conviction

were invalidated, a significant upward variance was warranted to account for the defendant’s intent

“to obstruct the proceeding and the nature of the proceeding itself”); United States v. Secor, 21-

CR-157-TNM, Sent. Tr. 10/19/22 at 53 (“I believe both the seriousness of the event — you

obstructed the certification of an official proceeding — and your particular role in it . . . require a

significant upward variance”).

       For all of those reasons, as well as the reasons set forth in the government’s March 2024

sentencing memorandum, an upward departure or variance to 68 months is appropriate.




                                                       Respectfully submitted,

DATED: September 26, 2024                              MATTHEW M. GRAVES
                                                       United States Attorney
                                                       D.C. Bar No. 481052

                                                       By: /s/ Ashley Akers
                                                       ASHLEY AKERS
                                                       MO Bar No. 69601
                                                       Trial Attorney, Detailee
                                                       601 D Street NW
                                                       Washington, DC 20001
                                                       (202) 353-0521
                                                       Ashley.Akers@usdoj.gov

                                                       VICTORIA A. SHEETS

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                                    Assistant United States Attorney
                                    NY Bar No. 5548623




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